Case 2:03-cv-02112-.]PI\/|-tmp Document 332 Filed 07/26/05 Page 1 of 3 Page|D 468

mo av M o.c.
IN THE UNITED STATES DISTRICT COUR.T `

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wss'rERN n:v:csIoN

 

MAX MAY, et al.,

 

plaintiffs,

v. Nb. 03-2112 Ml/P
NATIONAL BANK OF COMMERCE,

a banking corporation organized
under the laws of the United
States of America, in its
corporate capacity and as
Trustee of the Memphis Equipment
Ccmpany Employee Stock
Ownership Plan, and LAWRENCE
SCOTT, an individual resident

of Cordova, Shelby County,
Tennessee,

Defendants.

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ORDER TO FILE TRIAL TRANSCRIPT

 

The Court has determined that the filing of the trial
transcript in this case is necessary to conclude its opinion in
this case. Accordingly, the parties are hereby ORDERED to request
and file with the Court a copy of the trial transcript in this case
within fourteen (14) days of the date of entry of this order.1 The
parties shall share the costs of the transcript equally.

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So ORDERED this §QB day of July, 2005.
/<A-? m`O.QQ

JON P. MCCALLA
TED STA‘I‘ES DISTRICT JUDGE

 

1 A copy of the trial transcript in this case may be ordered by
contacting Court Reporter Brenda Parker at (901) 526-8769.

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This document entered on the docket sheet In cumpl| nce jjy
with Hu?e 58 and/or 79(3) FHCP on 7`& `0,§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 332 in
case 2:03-CV-02112 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

